257 F.2d 811
    W. E. VERKLER, Jr., et al., Appellants,v.Myrl J. JENNINGS.
    No. 15999.
    United States Court of Appeals Eighth Circuit.
    June 3, 1958.
    
      Appeal from the United States District Court for the Eastern District of Arkansas.
      Sloan &amp; Sloan and Barrett, Wheatley, Smith &amp; Deacon, Jonesboro, Ark., for appellants.
      Frierson, Walker &amp; Snellgrove, Jonesboro, Ark., for appellee.
      PER CURIAM.
    
    
      1
      Appeal from District Court dismissed, on stipulation of parties.
    
    